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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK

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                                                                            :
 UNITED STATES OF AMERICA,                                                  :
                                                                            :
                                 Plaintiff,                                 :
                                                                            :   JUDGMENT OF FORFEITURE
                                -v.-                                        :
                                                                            :
$621,501.56 IN UNITED STATES CURRENCY,                                      :   20 Civ. 5369 (LJL)
FORMERLY CONTAINED IN PNC BANK                                              :
ACCOUNT NO. 1225809374 HELD IN THE                                          :
NAMES OF “EDWARD ANDERSON” AND “EA                                          :
COLLECTION CLEARING, LLC,”                                                  :
                                                                            :
                                          Defendant-in-rem.                 :
 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x


                      WHEREAS, on or about July 13, 2020, the United States commenced an in rem

  forfeiture action seeking the forfeiture of the Defendant-in-rem by the filing of a Verified

  Complaint for Forfeiture (the “Verified Complaint”). The Verified Complaint alleged that the

  Defendant-in-rem is subject to forfeiture pursuant to Title 18, United States Code, Sections

  981(a)(1)(A) and 981(a)(1)(C);

                      WHEREAS, notice of the Verified Complaint against the Defendant-in-rem was

  posted on the official government internet site, www.forfeiture.gov, for at least thirty (30)

  consecutive days, beginning on July 15, 2020 through August 13, 2020, and proof of such

  publication was filed with the Clerk of this Court on October 13, 2020 (Dkt. No. 3);




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                WHEREAS, as set forth in Rule G(4)(a)(ii) and Rule G(5)(a)(ii), the notice of

forfeiture specified the Defendant-in-rem and the intent of the United States to forfeit and dispose

of the Defendant-in-rem, thereby notifying all third parties of their right to file a claim to adjudicate

the validity of their alleged legal interest in the Defendant-in-rem, within sixty days from the first

day of publication of the Notice on the official government internet site; and

                WHEREAS, no claims or answers have been filed or made in this action and no

other parties have appeared to contest the action, and the requisite time periods in which to do so,

as set forth in Title 18, United States Code, Section 983(a)(4)(A) and Rule G of the Supplement

Rules for Admiralty or Maritime Claims and Asset Forfeiture Claims, have expired;

                IT IS THEREFORE ORDERED, ADJUDGED AND DECREED AS FOLLOWS:

                1.      The Defendant-in-rem shall be, and the same hereby is, hereby forfeited to

the plaintiff United States of America.

                2.      The United States Department of Treasury (or its designee) shall dispose

of the Defendant-in-rem, according to law.




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              3.      The Clerk of the Court shall forward four certified copies of this Judgment

of Forfeiture to Assistant United States Attorney, Alexander J. Wilson, Co-Chief of the Money

Laundering and Transnational Criminal Enterprises Unit, One St. Andrew’s Plaza, New York,

New York, 10007.

Dated: New York, New York
     October 16, 2020

                                            SO ORDERED:



                                            HONORABLE LEWIS J. LIMAN
                                            UNITED STATES DISTRICT JUDGE




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